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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division


 SVETLANA LOKHOVA,                       )
                                         )
         Plaintiff,                      )
                                         )
         v.                              )      Civil Action No. 1:20-cv-1603 (LMB)(MSN)
                                         )
 STEFAN A. HALPER,                       )
                                         )
         Defendant.                      )

                          DEFENDANT HALPER’S REPLY BRIEF
                      IN SUPPORT OF HIS MOTION FOR SANCTIONS
        Plaintiff opposes sanctions, but chooses not to address the grounds justifying them,

 preferring instead to unleash another defamatory attack on Professor Halper, including falsely

 accusing him of lying to the FBI. Dkt. 12, at 3. Plaintiff and her counsel do not deny any of the

 litigation history, including Lokhova’s prior suit against Professor Halper, that support sanctions

 here. Nor do they address the relevant Fourth Circuit sanctions criteria, see In re Kunstler, 914

 F.2d 505, 522 (4th Cir. 1990), other than to belittle the lengthy inventory of their own

 misconduct as mere “opposition research.” Dkt. 12, at 5 n.6. On this day, a panel of the Fourth

 Circuit began its less benign description of this case by noting: “[T]his is not the first time

 attorney Biss’s litigation conduct has earned reprimand. His history of unprofessional conduct is

 long.” Lokhova v. Halper, 2021 WL 1418848, *9 (4th Cir. April 15, 2021). After affirming this

 Court’s discretion to “employ a wait-and-see approach based on post-judgment litigation,” the

 Fourth Circuit left little doubt about what it saw, but left the decision to this Court “whether it

 will ultimately join the chorus in sanctioning attorney Biss.” Id.

        Even as to the material legal issue--whether absolute privilege or First Amendment

 immunity precludes this suit--the Opposition Brief offers little more than taunts about Professor

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 Halper’s alleged unwillingness to bring suit against third party publishers for their defamatory

 comments about him on the internet. Plaintiff’s Brief, like this lawsuit, simply chooses to ignore

 the constitutional protection afforded litigation-related settlement letters under the Noerr-

 Pennington doctrine. Id., at 14. See, e.g., Sosa v. DIRECTV, 437 F.3d 923, 937 (9th Cir. 2006)

 (pre-suit demand letters immune from liability under Noerr-Pennington). This Court should

 grant the requested leave to propound financial discovery and order that it be answered on or

 before the scheduled May 5, 2021 hearing date.

        Plaintiff’s initial grievance—that Defendant filed a sanctions motion rather than a motion

 to dismiss, thereby vexatiously multiplying the proceedings—has it backwards. Defendant’s

 response to the Complaint is not due until May 10th, and an earlier termination of this suit would

 shorten, rather than multiply, these proceedings, to the advantage of the Court and all parties.

 Defendant has been the victim of the false, meritless and defamatory claims by Plaintiff and her

 counsel in this Court since May 2019.

        Nor can Plaintiff and her counsel complain about a lack of prior notice of this sanctions

 motion. In February 2020, this Court admonished Plaintiff and her counsel that “should Biss file

 further inappropriate pleadings or pursue frivolous post-judgment litigation against any of these

 defendants, sanctions might well be justified.” In February 2021, Defendant provided Plaintiff

 and her counsel with the twenty-one-day advance notice provided under Fed. R. Civ. P. Rule

 11(c)(2) failure to withdraw the lawsuit would result in the filing of this sanctions motion.

 Defendant is not prolonging this proceeding.

        In August, 2019, Professor Halper filed a motion for bad faith litigation sanctions against

 Plaintiff and her counsel. Lokhova I, dkt. 36. After this Court denied sanctions without

 prejudice in February 2020, dkt 91, Defendant Halper filed a cross-appeal on this Court’s denial

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 of sanctions. 1 Thus, at all relevant times, Plaintiff and her counsel were on notice that their

 litigation conduct regarding Professor Halper was under judicial scrutiny as being suspect, and

 they continued their pursuit of federal litigation against him. 2 The Opposition Brief’s invocation

 and mischaracterization of new documents to malign Professor Halper further is immaterial other

 than as further evidence that she is seeking to relitigate her claims in Lokhova I, thereby

 justifying application of the absolute privilege and Noerr-Pennington immunity.

        I.      Absolute Privilege Attaches

        Just as Judge Bennett recently held in dismissing another suit filed by Mr. Biss against

 criminal defense counsel Bondy, attorney communications about legal or congressional

 proceedings enjoy absolute immunity under Maryland law. Harvey v. Cable News Network, Inc.,

 2021 WL 615138, *15 (D. Md. Feb. 17, 2021). In fact, Judge Bennett has since concluded that

 the refiling of that case in an Amended Complaint was sanctionable, bad faith, vexatious conduct

 because “Plaintiff Harvey and his counsel unreasonably and vexatiously extended this matter in

 bad faith with the filing of a last-minute Amended Complaint” failing to cure any pleading error.

 Harvey v. Cable News Network, Inc., 2021 WL 1215083, *1 (D. Md. March 31, 2021).




 1
  Imputation of crime is defamatory per se, Schnupp v. Smith, 249 Va. 353, 360 (1995), and
 Plaintiff only compounds her ongoing defamation by falsely accusing Professor of lying to the
 FBI in her Opposition Brief, which is a crime under 18 U.S.C. § 1001. Dkt. 12, at 3.
 2
    Lokhova filed her initial lawsuit on May 23, 2019. Lokhova v. Halper, No.1:19-cv-00632, Dkt.
 1. This Court dismissed the Amended Complaint on February 27, 2020. Id., Dkt. 91. Lokhova
 filed a notice of appeal on March 27, 2020. Id., Dkt. 93. Halper filed a notice of cross-appeal on
 April 2, 2020. Id., Dkt. 96. After briefing, a panel of the Fourth Circuit heard oral argument on
 March 10, 2020, and issued an opinion affirming this Court in all respects on April 15, 2021.
 Lokhova, 2021 WL 1418848.

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        Virginia law also recognizes the absolute privilege that attaches to litigation

 communications about litigation, including communications prior to litigation. Mansfield v.

 Bernabei, 284 Va. 116, 125 (2012) (“regarding the applicability of absolute privilege to

 communications preliminary to a proposed judicial proceeding, this Court adopts the rule

 expressed in the Restatement (Second) of Torts §§ 586, 587 as well as the additional requirement

 that the disclosure be made only to interested persons”).

        Plaintiff admits that Virginia recognizes an absolute privilege for litigation

 communications by “a party or witness” or by an attorney, dkt. 12, at 6, but completely

 overlooks that Professor Halper has been made both by Plaintiff—he was a defendant in Lokhova

 I up through the affirmance of this Court by the Fourth Circuit today, a prospective witness

 therein, and he is represented by undersigned counsel. Ignoring the obvious (that Plaintiff and

 her counsel continue to prosecute Lokhova I to this day), Plaintiff attempts to avoid the manifest

 litigation privilege she created upon suing Professor Halper in 2019 by falsely contending that

 Virginia fails to recognize any privilege applicable to “‘mere potential litigation.’” Dkt. 12, at 7

 (quoting Lindeman v. Lesnick, 268 Va. 532, 538 (2004)). Plaintiff is refusing to abide by the

 litigation privilege she created in 2019 and has exploited ever since to propagate defamation

 about Professor Halper for her personal gain.

         Plaintiff and her counsel support their misdirection quoting dicta from the earlier

 Virginia Supreme Court Lindeman opinion, in which it expressed concerns about the scope of

 prelitigation privilege. But that concern was put to rest by the Virginia Supreme Court in 2012

 with its decision in Mansfield. There, the Virginia Supreme Court addressed the concerns raised

 by Lindeman and resolved any doubt by explicitly embracing the Restatement (Second) of Tort’s



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 absolute privilege for communications preliminary to a judicial proceeding. 284 Va. at 120

 (adopting Restatement (Second) of Torts §§ 586 & 587). 3

        This absolute privilege applies regardless of whether the communications are malicious 4

 or defamatory. 5 Restatement (Second) of Torts § 586 (“An attorney at law is absolutely

 privileged to publish defamatory matter concerning another in communications preliminary to a

 proposed judicial proceeding . . .”). 6 The privilege is “based upon a public policy of securing to

 attorneys as officers of the court the utmost freedom in their efforts to secure justice for their

 clients.” Id., cmt. a. The Virginia Supreme Court adopted this absolute privilege because the

 “importance of encouraging compromise and settlement is unquestioned in our jurisprudence.”

 Mansfield, 284 Va. at 124. The absolute nature of the litigation privilege, however, is necessarily

 tempered by the fact that courts have the authority to sanction or discipline counsel and parties.




 3
  The Virginia Supreme Court’s adoption of the Restatement privilege was predicted as far back
 as 1997. See, e.g., Long v. Old Point Bank of Phoebus, 41 Va. Cir. 409 (Norfolk City Circuit
 Court 1997) (counsel letter privileged).
 4
  Wolfe v. Zuckerman, 2020 WL 5351036, *2 (E.D. Va. Sep. 4, 2020) (privilege applies “even if
 such communications are made maliciously and with knowledge of their falsity”); Riccobene v.
 Scales, 19 F.Supp.2d 577, 584 (N.D. W.Va. 1999) (citing Mosrie v. Trussell, 467 A.2d 475 (D.C.
 1983) and Restatement (Second) of Torts, § 586, comment a).
 5
   See, e.g., Litowitz v. Haddad, 2020 WL 1820600, *4 (N.D. Ill. April 10, 2020) (“‘The privilege
 affords complete immunity, irrespective of the attorney’s knowledge of the statement’s falsity or
 the attorney’s motives in publishing the defamatory matter.’ Although the communication must
 ‘pertain to proposed or pending litigation ... [t]he pertinency requirement is not applied strictly,
 and the privilege will attach even where the defamatory communication is not confined to
 specific issues related to the litigation.’”) (quoting Golden v. Mullen, 693 N.E.2d 385, 389 (Ill.
 App. 1997).
 6
   § 586, comment a (“The publication of defamatory matter by an attorney is protected not only
 when made in the institution of the proceedings or in the conduct of litigation before a judicial
 tribunal, but in conferences and other communications preliminary to the proceeding.”).
                                                   5
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        In Virginia, whether this absolute privilege bars a tort claim is a question of law. Bryant-

 Shannon v. Hampton Roads Community Action Program, Inc., 2021 WL 1307139, *2 (Va. S. Ct.

 April 8, 2021) (citing Isle of Wight County v. Nogiec, 281 Va. 140, 152 (2011)).

         After erroneously denying that absolute privilege applies to potential litigation, Plaintiff

 then misapplies the Mansfield privilege standard for such pre-litigation communications. Dkt.

 12, at 9 (citing Mansfield and Restatement (Second) of Torts § 586). Mansfeld applied absolute

 privilege to: (i) communications preliminary to a contemplated proceeding; (ii) that are relevant

 to a legal proceeding; and (iii) which are communicated to an interested person. All three

 elements are satisfied here.

        Plaintiff limits her challenge to the first two factors--there is no dispute that the

 publishers are interested parties to disputes over their own internet postings. But the letters

 themselves are obviously: (i) preliminary to a defamation claim against the publishers, and about

 the ongoing legal proceedings (Lokhova I); and (ii) are relevant to both legal proceedings. As to

 the latter, the letters inform the defamatory publishers:

          Ms. Lokhova previously made such claims against Professor Halper in a $25 million
          federal lawsuit (Lokhova v. Halper, et al., No. 1:19-cv-632 (LMB-JFA), which was
          dismissed with prejudice by a federal trial judge on numerous grounds, including the
          failure of Ms. Lokhova and her counsel to plead plausible facts to support any of her
          legal claims against Professor Halper, including for defamation. Id. (Docket Entry 90).
          This federal judgment places you on notice that Ms. Lokhova has failed to sufficiently
          plead or to prove the very same allegations for which she is now using Post Hill Press
          to defame Professor Halper.
          ....

 Dkt. 7.5 (similar language contained in letter to Simon and Schuster (dkt 7.4)).

        Thus, the letters address both a pending suit between the parties (Lokhova I), and

 a prospective suit between Defendant and the publishers. See, e.g., Officemax, Inc. v.

 Cinotti, 966 F.Supp.2d 74, 81 (S.D.N.Y. 2013) (allegedly defamatory attorney letter
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 describing result and impact of another suit subject to absolute privilege; rejecting the

 “incorrect premise that the litigation privilege can only extend to the statements in the

 Letter if the statements were pertinent to the particular litigation before the Court.”).


        The letters contain the standard features of a demand letter, including an estimate

 of the damages to the Professor as measured against the damages pled by Plaintiff in

 Lokhova I. Dkt. 7.4 & 7.5 (“multiples of Ms. Lokhova’s estimation of her self-worth.”).

 The letter also informs the publishers of the death threats to the Professor and his family

 from Lokhova’s defamation, tells the publishers that they “will be held responsible” for

 the harm caused to Professor Halper, and asks the publishers to respond “within two

 weeks whether you have ceased and desisted the marketing material on your website and

 agree to undertake settlement negotiations for the damages inflicted to date.” Id. These

 are unquestionably the common features of settlement demand letters. Plaintiff’s critique

 that more menacing language is required goes a long way towards explaining their

 abusive approach to litigation. But it is most certainly not the law.

         Despite this clear language, Plaintiff contends these letters do not constitute

 settlement demand letters. Plaintiff’s challenges are of two types: (i) critiques of the

 formalities of Professor Halper counsel’s letter to the publishers; and (ii) doubts about

 whether Professor Halper seriously contemplated suing publishers accusing him of

 crimes (leaking classified information, million-dollar government contract fraud).

 Neither argument has merit.

         Plaintiff argues that a letter from Professor Halper’s counsel to the publisher of

 defamatory material about Professor Halper is not privileged because it lacks an accompanying

 draft complaint, was “not marked ‘For Settlement Purposes Only,”’ and allegedly does not

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 contain a settlement demand or offer (despite the fact that it explicitly includes a demand “to

 undertake settlement negotiations for the damages inflicted to date”).

        Initially, Plaintiff has no standing to complain about the formality of settlement

 communication between interested parties about their disputed publication. That is a matter

 between the two parties involved, and there is no objection from the letter recipients as to the

 formality of the communications. Moreover, although it seems unlikely that Plaintiff and her

 counsel will ever be persuaded that less is more or that polite language – not invective – is

 appropriate to legal communications, the fact is that the demand served its intended purposes:

 that is, the avoidance of litigation between the two parties to the communications—the very goal

 of the absolute privilege. Settlements are favored, not punished, by the privilege. Nor are

 Plaintiff or her counsel credible as victims of the litigation privilege, having plied their

 defamatory comments about Professor Halper since May 2019 behind the walls of privilege

 intended to protect good faith litigation in this Court.

        Second, Plaintiff mischaracterizes the relevant legal principles, which, when understood,

 confirm the litigation context of the communications. In many jurisdictions, a pre-filing demand

 for retraction is a prerequisite to filing suit. See, e.g., Nunes v. Cable News Network, Inc., 2021

 WL 665003, *7 (S.D.N.Y. Feb. 19, 2021) (dismissing Biss suit for failure to satisfy pre-filing

 notice and retraction demand requirement). While Plaintiff’s counsel insists that Virginia

 imposes no such requirement, that did not save the aforementioned Nunes case originally filed in

 this Court, which was later dismissed in New York for failure to comply with California’s

 retraction requirement. Id.

        And, as Defendant cited in his Opening Memorandum (without challenge thereafter), in

 Virginia and elsewhere, such pre-filing letters provide compelling evidence of malice for use in
                                                   8
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 prosecuting claims over ongoing defamatory communications, and also constitute proof of

 plaintiff efforts to mitigate the harm caused by ongoing defamation (i.e., by demanding that it

 cease and desist). Dkt. 7, at 18 & n.11 (citing Nunes v. Lizza, 2020 WL 5504005, *20 (N.D.

 Iowa Sept. 11, 2020) (the same plaintiff counsel using pre-filing demand letter to claim malice);

 News Leader Co. v. Kocen, 173 Va. 95, 106 (1939)).

        Accordingly, such pre-filing communications are integral parts of bringing defamation

 claims, making their admissibility for these essential purposes an important legal consideration.

 The vital role these types of documents play for the commencement of defamation litigation

 would be jeopardized by characterizing such documents as confidential and for settlement

 purposes only because, under the provisions of Fed. R. Evid. 408, such purely settlement

 documents can be considered inadmissible. Because these documents are necessary for later use

 in defamation litigation regarding essential elements of proof, they cannot be marked “for

 settlement purposes only” without jeopardizing the defamation claim. To the contrary, the

 absence of such a disclaimer signals an intent and willingness to sue, a message which should

 not be lost upon a seasoned publisher, even if overlooked by Plaintiff.

        Furthermore, there is no requirement that a draft complaint be tendered along with a

 demand letter, and such practices can inhibit willingness to negotiate settlements. Indeed, the

 Mansfield opinion followed an earlier Fourth Circuit case applying the absolute litigation

 privilege to a letter. Mansfield, 284 Va. at 124 (“The Fourth Circuit likewise applied absolute

 privilege in a case involving a pre-filing letter, finding it ‘probable that Virginia would follow

 the lead of the Restatement [ (First) ] of Torts, § 587 (1938).’ West v. Marjorie's Gifts, Inc., 529

 F.2d 518, 518 (4th Cir. 1975) (unpublished).”). Accord, Shrader v. Siana & Vaughan, LLP,

 2005 WL 975411, 6* (E.D. Pa. April 25, 2005) (privilege “encompasses pleadings and even less

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 formal communications such as preliminary conferences and correspondence between counsel in

 furtherance of the client's interest”).

         As former Judge Garland has explained, applying the same Restatement principle under

 D.C. law:

           In particular, the privilege applies to ‘written correspondence between parties' counsel
           concerning threatened lawsuit[s]’; ‘statements relating to threat[s] of litigation,’
           including statements ‘analogous to [those] that are often contained in demand letters,’
           and statements made during ‘settlement negotiations.’
 Messina v. Krakower, 439 F.3d 755, 760 (D.C. Cir. 2006) (quoting Finkelstein, Thompson &

 Loughran v. Hemispherix Biopharma, Inc., 774 A.2d 332, 343 (D.C. 2001) (quoting

 Conservative Club of Washington v. Finkelstein, 738 F. Supp. 6, 14 (D.D.C. 1990)).

         Thus, the letters are both preliminary to defamation proceedings against the publishers

 and they invoke and expressly relate to the Lokhova I proceedings, which are still ongoing.

         The second element of the privilege—relevancy to a judicial proceeding—is broadly

 construed: “The ‘communication need not be relevant in the legal sense; the term is very

 liberally construed.’” Messina, 439 F.3d at 134 (citing § 586, and quoting Arneja v. Gildar, 541

 A.2d 621, 624 (D.C. 1988)). 7 “The privilege will attach even where the defamatory statement is

 not confined to specific issues related to the litigation, and all doubts should be resolved in favor

 of finding pertinency.” Marchioni v. Bd. Of Educ. of City of Chicago, 341 F.Supp.2d 1036, 1051

 (N.D. Ill. 2004) (construing § 587, holding that defendant’s derogatory letter about plaintiff




 7
  “The relation test is very liberally construed; as long as the alleged defamatory statement “has
 some reference to the subject matter of the proposed or pending litigation” it falls within the
 privilege.” Messina v. Fontana, 260 F.Supp.2d 173, 178 (D.D.C. 2003) (quoting Restatement
 (Second) Of Torts § 586, comment c), aff’d, 439 F.3d 755 (D.C. Cir. 2006).
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 “during the pendency of plaintiff’s federal lawsuit” against him was absolutely privileged). The

 low relevancy threshold is more than satisfied here.

        The letters are plainly relevant to two legal proceedings—the Lokhova I litigation

 (including this Court’s ongoing sanctions warning), and the defamation being published over the

 internet which was the direct subject of the letters. Nor can there be any doubt that these

 attorney communications are relevant to these ongoing or future legal proceedings. “In

 determining whether a statement is pertinent and relevant, ‘courts are liberal and the privilege

 embraces anything that may possibly be pertinent. All doubts should be resolved in favor of its

 relevance and pertinency.’” MacVicar v. Barnett, 2019 WL 2361040, *9 (D. Or. June 1, 2019)

 (quoting Wollam v. Brandt, 154 Or. App. 156, 162-63 (1998)).

        Ignoring the marketing material’s allegations of criminal conduct by Professor Halper

 (leaking classified information and government contract fraud), Plaintiff focuses on other

 language from the marketing material, and chooses to label it as either truthful or non-

 defamatory. Dkt. 12, at 4. The applicability of the litigation privilege, however, does not depend

 upon whether the pending or potential defamation suit is meritorious. 8 Indeed, Lokhova I lacked

 any merit, which is why this Court cautioned Plaintiff and her counsel about further litigation

 misconduct directed at Halper. The good faith characterization of Plaintiff’s continuing

 groundless accusations against Professor Halper as defamatory is supported by the oral argument




 8
   Messina, 439 F.3d at 761 (“But the fact that the letter was defamatory (if it was) cannot
 determine the applicability of the privilege, since the very purpose of the privilege is to protect
 against liability for defamation.”) See Restatement (Second) of Torts § 586, comment a
 (“Therefore the privilege is absolute. It protects the attorney from liability in an action for
 defamation irrespective of his purpose in publishing the defamatory matter, his belief in its truth,
 or even his knowledge of its falsity.”).
                                                 11
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 characterization of the same allegations from the Lokhova I Complaint by Judge Stephanie

 Thacker (author of the ultimate panel opinion) as being defamatory against Professor Halper.

           Finally, Professor Halper does not have to sue a publisher who ceases to publish

 defamatory marketing material. The fact that litigation was avoided is the sign the litigation

 privilege serves its purpose; it is not evidence that it is being abused.

           II.    Noerr-Pennington Immunity Bars Suit

           Plaintiff devotes a single paragraph to make a vague claim that First Amendment

 immunity is somehow inapplicable. Dkt. 12, at 14. Specifically, Plaintiff offers the nonsequitur

 observations that “Reed did not petition any department of the government,” and “Halper is not

 entitled to the defense of absolute privilege under the First Amendment.” Id. These are distinct

 issues—protected petitioning activity versus absolute privilege. The former is an immunity

 known as the Noerr-Pennington doctrine, while the latter is an absolute privilege arising under

 state law, as previously discussed.

           The Noerr-Pennington doctrine is a First Amendment immunity that applies to conduct,

 including the preliminary conduct, involved in petitioning the Government. It most certainly

 applies to petitioning the federal courts. Baltimore Scrap Corp. v. David J. Joseph Co., 237 F.3d

 394, 399 (4th Cir. 2001) (Noerr–Pennington immunity “extends to petitioning the courts as

 well.”) (citing California Motor Transp. Co. v. Trucking Unlimited, 404 U.S. 508, 510-11

 (1972); Intellectual Ventures I LLC v. Capital One Fin. Corp., 280 F.Supp.3d 691 (D. Md.

 2017)).

           In the Fourth Circuit, the applicability of Noerr-Pennington immunity “is a question of

 law.” IGEN Int’l, Inc. v. Roche Diagnostics GmbH, 335 F.3d 303, 310-13 (4th Cir. 2003). The

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 potency of the immunity is reflected by the IGEN case, in which the Fourth Circuit reversed as

 error a trial court’s refusal to permit the pleading of Noerr-Pennington immunity, and then

 implemented the immunity by vacating a jury tort verdict of $4 million in compensatory and

 $400 million in punitive damages after a ten week trial. 9 Lacking a pled immunity defense, the

 Fourth Circuit concluded that collateral proceedings in another lawsuit created a “rebuttable

 presumption of Noerr-Pennington immunity.” 335 F.3d at 311. Here, the defamatory nexus

 between this suit and the ongoing Lokhova I lawsuit should be similarly treated. Regardless, the

 Opposition Brief offers not a single legal ground to overcome Noerr-Pennington immunity here,

 which is their burden. IGEN, 335 F.3d at 312 (“IGEN has failed to satisfy this burden.”). This

 burden has not been acknowledged by Plaintiff, much less shouldered.

        Courts apply Noerr-Pennington immunity to pre-litigation settlement and demand letters

 because they are preliminary to the act of petitioning a court for relief. Sosa, 437 F.3d at 937;

 Singh v. NYCTL 2009-A Trust, 2016 WL 3962009, *4 (S.D.N.Y. July 20, 2016) (“Courts in this

 Circuit have held that these types of litigation communications [‘demand letters, default letters,

 and settlement communications’] are immune from liability under the First Amendment

 protected by Noerr-Pennington.”) (citing cases), aff’d, 683 Fed. Appx. 76 (2d Cir. 2017) (“all of

 his claims are barred by the Noerr-Pennington doctrine”).

         “The Noerr-Pennington doctrine covers not only petitions sent directly to the court, but

 also ‘conduct incidental to the prosecution of the suit.’” Uribe v. Sherman Way Gardens, Ltd.,




 9
   Plaintiff and her counsel have not claimed any exception to Noerr-Pennington immunity, nor
 have they borne the burden of proving any exception. IGEN, 335 F.3d at 312. For example,
 “even litigation that is deceitful, underhanded, or morally wrong will not defeat immunity unless
 it satisfies the objective baselessness requirement.” Id. (citing Baltimore Scrap, 237 F.3d at 198-
 99).
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 2008 WL 11336669, *6 (C.D. Cal. Nov. 24, 2008) (quoting Columbia Pictures Indus. Inc. v.

 Prf’l Real Estate Investors, Inc., 944 F.2d 1525, 1528-29 (9th Cir. 1991)).

        Here, immunity under the Noerr-Pennington doctrine is obvious and unchallenged. The

 fact that Plaintiff and her counsel decline to address it is just further evidence of bad faith

 justifying sanctions.

        III.    Unanswered Bad Faith Litigation Conduct

        In February 2020, this Court agreed that Plaintiff and her counsel had engaged in the bad

 faith behavior (ad hominem attacks, phantom and untimely defamation claims) that would have

 supported an award of sanctions. But instead of imposing sanctions, this Court decided to warn

 them that sanctions for such conduct directed in the future against Defendant Halper “might well

 be justified.” Lokhova v. Halper, 441 F.Supp.3d 238, 267 (E.D. Va. 2020). Plaintiff and her

 counsel prove, again, that no good deed goes unpunished. This lawsuit is ample proof that

 Plaintiff and her counsel operate under the rule that conduct that is not punished will be repeated.

        The Opposition Brief does not even deign to address the relevant Fourth Circuit factors

 governing litigation sanctions, as set forth in In re Kunstler:

          ‘The court may consider factors such as the offending party’s history, experience, and
          ability, the severity of the violation, the degree to which malice or bad faith contributed
          to the violation, the risk of chilling the type of litigation involved, and other factors as
          deemed appropriate in individual circumstances.’
 914 F.3d at 924 (quoting ABA, Standards and Guidelines for Practice Under Rule 11 of the

 Federal Rules of Civil Procedure (1988)).

        Here, Plaintiff and her counsel are recidivist litigators against Professor Halper. Even

 now, Plaintiff’s chosen method of opposing sanctions for her conduct is to accuse Professor

 Halper of lying to the FBI—a crime. Dkt. 12, at 3. In Lokhova I, this Court pointed out that

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 Plaintiff had filed the untimely Lokhova I complaints even after Plaintiff had had her prior

 defamation case in the United Kingdom dismissed as untimely. Lokhova, 441 F.Supp.3d at 267

 (Plaintiff “previously filed an unrelated defamation lawsuit in the United Kingdom, which was

 dismissed as untimely under the one-year statute of limitations applicable in that jurisdiction.”)

 This Court’s warning directly to Plaintiff not to file further meritless litigation against Halper

 was clear, was amply justified, and was then violated by Plaintiff.

          Plaintiff’s counsel makes no effort to defend the numerous cases he has brought,

 permeated with ad hominem attacks, that are detailed in the Opening Memorandum, dkt. 7, at 23-

 24, and recounted in the Fourth Circuit’s opinion of this date. Lokhova v. Halper, 2021 WL

 1418848, *9.

           Plaintiff and her counsel also do not dispute the affidavit of Plaintiff’s counsel that he is

 an experienced civil litigator who has “successfully litigated to verdict/judgment hundreds of

 claims of defamation, false light, malicious prosecution, conspiracy, fraud, tortious interference

 with contract, and similar legal issues.” Dkt. 7.6 (Attachment to Motion for Admission Pro Hac

 Vice).

          Demand letters, their uses, and applicable privileges, should not be lost on either Plaintiff

 or her counsel. Further, both this Court, and defense counsel (pursuant to the safe harbor

 provisions Rule 11(c)(2)) gave ample warning to Plaintiff and her counsel that further meritless

 litigation against Professor Halper could be sanctioned. Their persistence demonstrates the

 degree to which this litigation is motivated by malice and bad faith.

          The collection of judicial admonitions and sanctions detailed in Defendant’s Rule 11

 Opening Memorandum, dkt. 7, and noted by the Fourth Circuit, Lokhova, 2021 WL 1418848, *9,


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 has only grown since it was filed less than three weeks ago. On March 31, 2021, Judge Bennett

 imposed bad faith sanctions upon Plaintiff’s counsel for re-filing an equally defective Amended

 Complaint alleging defamation on behalf of Mr. Harvey. Harvey v. Cable News Network, Inc.,

 2021 WL 1215083, *1 (D. Md. March 31, 2021).

        On the same day, Judge Alston of this Court denied Rule 11 sanctions against Plaintiff’s

 counsel, but only after providing another pointed judicial admonition:

          The Court declines to impose sanctions under Rule 11 at this time. The allegations
          made by Plaintiff are serious. They just cannot and do not confer authority to this Court
          to address the complaints Plaintiff has made. In this regard, Plaintiff's counsel is
          reminded that litigation “asserted in bad faith or for the purpose of harassment” may be
          met with sanctions. Guidry v. Clare, 442 F. Supp. 2d 282, 289 (E.D. Va. 2006). Here,
          Plaintiff's counsel has filed three complaints in this case since September of 2019. The
          Court has not issued a favorable ruling on any of the claims Plaintiff asserts.
          Accordingly, the Court's dismissal of Plaintiff's RICO claims is with prejudice and
          without leave to amend because in the Court's view, amendment would be futile. Fed.
          R. Civ. P. 15(a)(2). ‘At some point, litigation must end.’
 Nunes v. Fusion GPS, 2021 WL 1225983, *14 (E.D. Va. March 31, 2021) (quoting Matter of

 Vulcan Constr. Materials, LLC, 433 F.Supp.3d 816, 825 (E.D. Va. 2019)).

        Nor should this Court fear chilling defamation cases brought by parties who serially bring

 meritless defamation cases. Plaintiff and her counsel have brought two meritless defamation

 cases before this Court against this same Defendant. That is a result which should be chilled.

 Defamation claims themselves pose a risk of chilling speech protected under the First

 Amendment. Politically-motivated defamatory lawsuits should be chilled, not promoted.

        Defendant has sought both dismissal and financial sanctions. Plaintiff and her counsel

 have declined to address the relevant legal factors for assessment of either sanction. For

 example, they do not contest the applicability of any of the Schaefer Equipment factors that

 justify dismissals. Dkt. 7, at 24-25 (citing United States v. Schaefer Equipment, 11 F.3d 450,

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 462-63 (4th Cir. 1993)). Dismissal is warranted under all of those factors because the degree of

 culpability is substantial (spanning two lawsuits for Plaintiff and multiple suits for her counsel);

 the blameworthiness of the client (Plaintiff), while less than that of her counsel, is nonetheless

 substantial and continuing based upon her filing and language decisions; the judicial process, and

 the administration of justice has been harmed for two years by their use of it as a platform for

 defamation; and the only sanction that would be effective in halting this continuing abuse and

 “deterring similar conduct in the future,” is dismissal. 11 F.3d at 463.

           Financial sanctions can be imposed under this Court’s inherent authority upon parties and

 their counsel, and these sanctions are independent of Rule 11 sanctions. Goodyear Tire &

 Rubber Co. v. Haeger, 137 S. Ct. 1178, 1186 (2017) (citing Chambers v. NASCO, Inc., 501 U.S.

 32, 44-46 (1991)). Under Rule 11, financial sanctions can be imposed upon both party and heir

 counsel for bringing litigation with an “improper purpose, such as to harass, cause unnecessary

 delay, or needlessly increase the cost of litigation” (Rule 11(b)(1). Rule 11(c)(5)(A), however,

 bars imposition of financial sanctions upon parties for the frivolous legal arguments of their

 counsel sanctionable under Rule 11(b)(2).

           Defendant has sought leave of Court to propound discovery on the issue of capacity to

 pay financial sanctions. 10 See dkt. 7.7 (proposed document requests). Plaintiff and her counsel

 have since objected to this financial discovery on grounds of attorney-client privilege, relevance,

 and prematurity. Exhibit 1. Because the parties have exhausted Rule 11(c)(2)’s twenty-one-day

 safe harbor procedures (including as to the requested discovery), this issue should be ripe for

 adjudication. Accordingly, Defendant renews his request that the Court grant leave to propound




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      Financial capacity to pay financial sanctions is relevant under In Re Kunstler, 914 F.2d at 523.
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 the financial capacity discovery, and direct that a response be made on or before the scheduled

 May 5, 2020 hearing date.

                                          CONCLUSION

        This Court has already tried judicial admonition, and unfortunately it has had as little

 effectiveness as those issued by many other judges. Patience and tolerance has been answered

 with repeated misconduct. Stronger measures are required. Dismissal of a claimed based upon

 clearly privileged conduct is a stronger measure that is not draconian in this context.




                                                       Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

         I hereby certify that on this 15th day of April, 2021, I electronically filed the foregoing

 Notice using the CM/ECF system which will then send a notification of such filing (NEF) to all

 interested parties.

                                                        By: ____/s/______________
                                                        Terrance G. Reed (VA Bar No. 46076)




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